Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.

ANDRES GOMEZ,
Plaintiff,
V.

LARKIN COMMUNITY HOSPITAL, INC.,

a Florida Corporation, LARKIN COMMUNITY
HOSPITAL II, LLC, a Florida Limited Liability
Company, and LARKIN COMMUNITY HOSPITAL
PALM SPRINGS CAMPUS, LLC, a Florida Limited
Liability Company,

Defendants.
/

CLASS ACTION COMPLAINT

Comes now Andres Gomez ("Plaintiff'), on behalf of himself and all others similarly

situated and alleges as follows:
INTRODUCTION

1. Plaintiff, ANDRES GOMEZ, brings this action individually and on behalf of
all others similarly situated agains|s LARKIN COMMUNITY HOSPITAL, INC., a Florida
Corporation, LARKIN COMMUNITY HOSPITAL II, LLC, a Florida Limited Liability Company,
and LARKIN COMMUNITY HOSPITAL PALM SPRINGS CAMPUS, LLC, a Florida Limited
Liability Company (collectively "Defendants"), alleging violations of Title III of the Americans
with Disabilities Act, 42 U.S.C. § 12101 et seq., (hereinafter, "ADA") and Section 504 of The
Rehabilitation Act of 1973, 29 U.S.C. § 701 et seq. (hereinafter, "Rehabilitation Act").

2. Plaintiff is a blind individual. He brings this civil rights class action against
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 2 of 12

Defendants for offering and maintaining internet websites that are not fully accessible and
independently usable by visually impaired individuals.

3. Plaintiff Gomez has visited Defendants’ website for Larkin Community Hospital
(www.larkinhospital.com).

4. Defendants offer its hospitals and their corresponding websites to the general public
and as such, they have subjected themselves to the ADA. Defendants’ website is offered as a tool
to view services, make appointments and obtain information from their hospital facilities. As a
result, the websites must interact with Defendants' hospitals and in doing so must comply with the
ADA, which means they must not discriminate against individuals with disabilities and may not
deny full and equal enjoyment of services afforded to the general public.

5. In addition, Defendants’ hospitals are recipients of Medicare and Medicaid funds,
and are therefore considered recipients of Federal financial assistance, as defined by 29 U.S.C. §
794. Accordingly, they are subject to the Rehabilitation Act.

6. The Rehabilitation Act states, in part, “[n]o otherwise qualified individual with a
disability in the United States... shall, solely by reason of her or his disability, be excluded from
the participation in, be denied the benefits of, or be subjected to discrimination under any program
or activity receiving Federal financial assistance..." 29 U.S.C. § 794(a).

7. Blind and visually impaired consumers use screen reading software or other
assistive technologies in order to access website content. Defendants' websites, however, contain
digital barriers, limiting the ability of blind and visually impaired consumers to access their
content.

8. Defendants' websites do not properly interact with screen reader software in a

manner that will allow the blind and visually impaired to enjoy the websites, nor do the sites
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 3 of 12

provide other means to accommodate the blind and visually impaired.

9. Plaintiff Gomez has visited Defendants’ website in the past, and intends to visit
the website in the future. However, unless Defendants are required to eliminate the access barriers
at issue, and required to change their policies so that access barriers do not reoccur on Defendants'
websites, Plaintiff will continue to be denied full and equal access to the website as described, and
will be deterred from fully using Defendant's website.

10. The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks
in this action. The ADA provides, in part:

[i]n the case of violations of . . . this title, injunctive relief shall include an order to alter

facilities to make such facilities readily accessible to and usable by individuals with disabilities ...
Where appropriate, injunctive relief shall also include requiring the ... modification of a policy ...

42 U.S.C. § 12188(a)(2).

11. Therefore, on behalf of a class of similarly situated individuals, Plaintiff seeks a
declaration that Defendants' website violates federal law as described and an injunction requiring
Defendants to modify its website so that it is fully accessible to, and independently usable by, blind
or visually impaired individuals. Plaintiff further requests that the Court retain jurisdiction of this
matter for a period to be determined to ensure that Defendants come into compliance with the
requirements of the ADA and Rehabilitation Act and to ensure that Defendants have adopted and

are following an institutional policy that will, in fact, cause Defendants' website to remain in

compliance with the law.

JURISDICTION AND VENUE

12. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

U.S.C. § 12188.

13. Plaintiff's claims arose in this judicial district and Defendants do substantial
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 4 of 12

business in this judicial district.

14. Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this
is the judicial district in which a substantial part of the acts and omissions giving rise to the claims

occurred.

PARTIES
15. Plaintiff, ANDRES GOMEZ, is and, at all times relevant hereto, a resident of the
State of Florida. Plaintiff Gomez is and, at all times relevant hereto, has been legally blind and is

therefore a member of a protected class under the ADA and the Rehabilitation Act.

16. Defendant, LARKIN COMMUNITY HOSPITAL, INC., is a Florida
Corporation headquartered at 7031 SW 624 Avenue, South Miami, Florida 33143. LARKIN
COMMUNITY HOSPITAL, INC. owns, operates and maintains Larkin Community Hospital, a
hospital in South Miami, Florida. LARKIN COMMUNITY HOSPITAL, INC., owns, operates
and maintains several brick and mortar hospitals, including within the State of Florida. LARKIN
COMMUNITY HOSPITAL, INC. also owns, operates, and maintains a website for its medical
center, www.larkinhospital.com. The hospitals and their accompanying collective website offer
services to the public. The hospitals and their collective website work collectively and are public
accommodations pursuant to 42 U.S.C. § 12181(7)(F).

17. Defendant, LARKIN COMMUNITY HOSPITAL II, LLC, is also
headquartered at 7031 SW 627 Avenue, South Miami, Florida 33143. LARKIN
COMMUNITY HOSPITAL II, LLC, owns, operates and maintains several brick and mortar
hospitals, including within the State of Florida. Defendant, LARKIN COMMUNITY HOSPITAL
II, LLC, also owns, operates, and maintains websites for its hospitals. LARKIN COMMUNITY

HOSPITAL II, LLC's hospitals and accompanying collective website offer services to the public.
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 5 of 12

LARKIN COMMUNITY HOSPITAL II, LLC's hospitals and collective website work
collectively and are public accommodations pursuant to 42 U.S.C. § 12181(7)(P).

18. Defendant, LARKIN COMMUNITY HOSPITAL PALM SPRINGS
CAMPUS, LLC, is headquartered at 5966 SW 70" Street, 5'" Floor, South Miami, Florida
33143. LARKIN COMMUNITY HOSPITAL PALM SPRINGS CAMPUS, LLC, owns,
operates and maintains several brick and mortar hospitals, including within the State of Florida.
Defendant, LARKIN COMMUNITY HOSPITAL PALM SPRINGS CAMPUS, LLC, also owns,
operates, and maintains websites for its hospitals. LARKIN COMMUNITY HOSPITAL PALM
SPRINGS CAMPUS, LLC's hospitals and accompanying website offer services to the public.
LARKIN COMMUNITY HOSPITAL PALM SPRINGS CAMPUS, LLC's hospitals and website
work collectively and are public accommodations pursuant to 42 U.S.C. § 12181(7)(P).

FACTS

18. Defendants own, operate and control website www.larkinhospital.com, which

offers services related to Defendants’ hospitals, including online bill payment. Defendants' website

also helps users locate the hospital, vie": services, make appointments, research medical providers,

and other functions.

19, Defendants’ website is a place of public accommodation pursuant to 42 U.S.C. §
12181(7)(F). Defendants’ hospitals are also recipients of federal financial assistance pursuant
to 29 U.S.C. § 794. Therefore, under the ADA and Rehabilitation Act, Defendants must ensure

that individuals with disabilities have access to full and equal enjoyment of the services offered on

its websites.

20. Blind and visually impaired individuals may access websites by using

keyboards in conjunction with screen reader software that converts text to audio. Screen reader
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 6 of 12

software provides the primary method by which a visually impaired person may independently use
the Internet. Unless the websites are designed to be accessed with screen reader software, visually
impaired individuals are unable to fully access websites and the information, products, and service
available through the sites.

21. The international website standards organization, W3C, has published WCAG
2.0 AA (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.0 AA provides
widely accepted guidelines for making websites accessible to individuals with
disabilities and compatible with screen reader software. These guidelines have been endorsed
by the United States Department of Justice and numerous federal courts.

22. Plaintiff uses screen reader software in order to access a website's content.
However, despite several attempts, Defendants' website did not integrate with Plaintiff's software,
nor was there any function within the website to permit access for visually impaired individuals
through other means. Plaintiff was denied the full use and enjoyment of the facilities and
services available on Defendants' website as a result of access barriers oil the website.

23. Defendants’ website does not meet the WCAG 2.0 AA level of accessibility.

24. By failing to adequately design and program its website to accurately and
sufficiently integrate with screen reader software, Defendants have discriminated against
Plaintiff and others with visual impairments on the basis of a disability by denying them full
and equal enjoyment of the website, in violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.

25. As aresult of Defendants’ discrimination, Plaintiff was unable to use Defendants’
website and suffered an injury in fact including loss of dignity, mental anguish and other tangible
injuries.

26. The barriers at the websites have caused a denial of Plaintiff s full and equal
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 7 of 12

access multiple times in the past, and now deter Plaintiff from attempting to use Defendants'
website.

27. If Defendants’ website were accessible, Plaintiff could independently research
services offered at its hospital, pay medical bills, as well as enjoy the other functions on the
websites.

28. Although Defendants have centralized policies regarding the maintenance and
operation of its website, Defendants have never had a plan or policy that is reasonably calculated
to make their website fully accessible to, and independently usable by, people with visual
impairments.

29. Without injunctive relief, Plaintiff and other visually impaired individuals will
continue to be unable to independently use Defendants’ website in violation of their rights under

the ADA and Rehabilitation Act.

CLASS ALLEGATIONS
30. Plaintiff brings this class action on behalf of himself and all others similarly
situated pursuant to Rules 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure, on behalf
of all legally blind individuals who have attempted, or will attempt, to access Defendants’ websites

using screen reader software.

31. Numerous Class: The class described above is so numerous that joinder of all
individual members in one action would be impracticable. The disposition of the individual claims
of the respective class members through this class action will benefit both the parties and this
Court.

32. Typicality: Plaintiffs claims are typical of the claims of the members of the

class. The claims of the Plaintiff and members of the class are based on the same legal theories
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 8 of 12

and arise from the same unlawful conduct.

33. Common Questions of Fact and Law: There is a well-defined community of
interest and common questions of fact and law affecting members of the class in that they all
have been and/or are being denied their civil rights to full and equal access to, and use and
enjoyment of, Defendants’ facilities and/or services due to Defendants' failure to make its websites
fully accessible and independently usable as above described.

34. Adequacy of Representation: Plaintiff is an adequate representative of the class
because his interests do not conflict with the interests of the members of the class. Plaintiff will
fairly, adequately, and vigorously represent and protect the interests of the members of the class
and has no interests antagonistic to the members of the class. Plaintiff has retained counsel
who are competent and experienced in the prosecution of class action litigation, generally, and

who possess specific expertise in the context of class litigation under the ADA and

Rehabilitation Act.

35. Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because
Defendants have acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

SUBSTANTIVE VIOLATIONS

Title III of the ADA, 42 U.S.C. § 12181 et seq.

36. The allegations contained in the previous paragraphs are incorporated by
reference.
37. Section 302(a) of Title II of the ADA, 42 U.S.C. § 12101 ef seq., provides: "No

individual shall be discriminated against on the basis of a disability in the full and equal enjoyment

the goods, facilities, privileges, advantages or accommodations of any place of public

8
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 9 of 12

accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation." 42 U.S.C. § 12182(a).

38. Defendants’ hospitals and accompanying website are public accommodations

within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(F).

39. Under Section 302(b)(2) of Title I of the ADA, it is unlawful discrimination to
deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(1).

40. Under Section 302(b)(2) of Title II of the ADA, it is unlawful discrimination to
deny individuals with disabilities the opportunity to participate in or benefit from the goods,
services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii’).

Al. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:

a failure to make reasonable modifications in policies, practices or
procedures, when such modifications are necessary to afford such goods, services,
facilities, privileges, advantages or accommodations to individuals with
disabilities, unless the entity can demonstrate that making such modifications
would fundamentally alter the nature of such goods, services, facilities, privileges,
advantages or accommodations; and a failure to take such steps as may be necessary
to ensure that no individual with a disability is excluded, denied services,
segregated or otherwise treated differently than other individuals because of the
absence of auxiliary aids and services, unless the entity can demonstrate that taking
such steps would fundamentally alter the nature of good, service, facility, privilege,
advantage or accommodation being offered or would result in an undue burden 42
U.S.C. § 12182(b)(2)(A)(ii)-(iii); see also 28 C.F.R. § 36.303(a).

42. Title III requires that "[a] public accommodation shall furnish appropriate auxiliary

aids and services where necessary to ensure effective communication with individuals with
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 10 of 12

disabilities." 28 C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of "auxiliary
aids and services," including "...accessible electronic and information technology; or other
effective methods of making visually delivered materials available to individuals who are blind or

have low vision." 28 C.F.R. § 36.303(b).

43, The acts alleged herein constitute violations of Title III of the ADA, and the
regulations promulgated thereunder. Plaintiff, who is blind and has a disability that substantially
limited the major life activity of seeing, within the meaning of 42 U.S.C. §§ 12102(1)(A’‘) and
(2)(A), has been denied full and equal access to Defendants' websites. Plaintiff has not been
afforded the services, privileges and advantages that are provided to other patrons who are not
disabled, and/or have been provided services, privileges and advantages that are inferior to those
provided to non-disabled persons. These violations are ongoing as Defendants have failed to make

any prompt and equitable changes to its websites and policies in order to remedy its discriminatory

conduct.
Section 504 of the Rehabilitation Act
44, The allegations contained in the previous paragraphs are incorporated by
reference.
45. The Rehabilitation Act provides:

No otherwise qualified individual with a disability in the United States...
shall, solely by reason of his or her disability, be excluded from the participation
in, be denied the benefits of, or be subjected to discrimination under any program
or activity receiving Federal financial assistance or activity conducted by any
Executive agency[.]" 29 U.S.C. § 794 (as amended).

46. Plaintiff is an "individual with a disability" as defined in 29 U.S.C. § 705(20)
because he has a visual impairment that substantially limits one or more of his major life activities,

including the major life activity of seeing.

10
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 11 of 12

47. As an individual with disabilities, Plaintiff is entitled to modifications and
auxiliary aids and services that provide him equal access to the programs and services Defendants
own and operate.

48. Defendants’ hospitals are recipients of federal funds in the form of Medicaid and
Medicare, and as such are covered by the Rehabilitation Act and its implementing regulations at
45 C.F.R. Part 84.

49. The Rehabilitation Act's implementing regulation provides that "[n]o qualified
handicapped person shall, on the basis of handicap,’ be excluded from participation in, be denied
the benefits of, or otherwise be subjected to discrimination under any program or activity which

receives Federal financial assistance." 45 C.F.R. § 84.4(a). The regulation further provides:

“A recipient, in providing any aid, benefit, or service, may not, ... on the basis of
handicap: (ii) Afford a qualified handicapped person an opportunity to participate in or
benefit from the aid, benefit, or service that is not equal to that afforded others; ...”

45 C.F.R. § 84.4(b)(1) (ii) and 45 C.F.R. § 84.52(a)(2).

50. The regulation further provides:

‘A recipient to which this subpart applies that employs fifteen or more persons shall
provide appropriate auxiliary aids to persons with impaired sensory, manual, or speaking skills,

where necessary to afford such persons an equal opportunity to benefit from the service in
question.”

45 C.F.R. § 84.52(d)(1)

51. Pursuant to the ADA and the Rehabilitation Act and the remedies, procedures
and rights set forth and incorporated therein, Plaintiff, on behalf of himself and on behalf of all

others similarly situated, requests relief as set forth below.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of himself and the members of the class, prays for:

11
Case 1:17-cv-22191-RNS Document 1 Entered on FLSD Docket 06/12/2017 Page 12 of 12

a. A Declaratory Judgment that at the commencement of this action
Defendants were in violation of the specific requirements of Title II] of the ADA and the
Rehabilitation Act, described above, and the relevant implementing regulations of the ADA and
the Rehabilitation Act, in that Defendants took no action that was reasonably calculated to ensure
that their websites are fully accessible to, and independently usable by, blind individuals;

b. A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2), 29 U.S.C.A. § 794a,
28 CFR § 36.504 (a), and 29 U.S.C.A. § 794(a) which directs Defendants to take all steps
necessary to bring their websites into full compliance with the requirements set forth in the ADA
and the Rehabilitation Act, and both statutes' implementing regulations, so that their website are
fully accessible to, and independently usable by, blind individuals, and which further directs that
the Court shall retain jurisdiction for a period to be determined to ensure that Defendants have

adopted and are following an institutional policy that will in fact cause Defendants to remain fully
in compliance with the law;

c. An Order certifying the class proposed by Plaintiff, and naming Plaintiff as
class representatives and appointing his counsel as class counsel;

d. Payment of costs of suit;

e. Payment of reasonable attorneys' fees, pursuant to 42 U.S.C. § 12205, 29

U.S.C.A. § 794(a), and 28 CFR § 36.505; and,

f. The provision of whatever other relief the Court deems just, equitable and
appropriate.

Dated: June 12, 2017
Respectfully Submitted,

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12
